              Exhibit GGG




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                         Democracy North Carolina
                          Durham, North Carolina

                        Audited Financial Statements
                   Years Ended December 31, 2023 and 2022




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                               McConnell & Jones,LLP

                                                          REPORT OF INDEPENDENT AUDITORS


                               Board of Directors
                               Democracy North Carolina
                               Morrisville, North Carolina

                               Opinion
                               We have audited the accompanying financial statements of the Democracy North Carolina, (the
                               "Organization"), which comprise the statement of financial position as of December 31, 2023 and
                               2022, and the related statements of activities, functional expenses, and cash flows for the year then
                               ended, and the related notes to the financial statements.

                               In our opinion, the financial statements referred to above present fairly, in all material respects, the
                               financial position of Democracy North Carolina as of December 31, 2023 and 2022, and the
                               changes in its net assets, functional expenses and its cash flows for the year then ended in
                               accordance with accounting principles generally accepted in the United States of America.

                               Basis for Opinion
                               We conducted our audit in accordance with auditing standards generally accepted in the United
                               States of America. Our responsibilities under those standards are further described in the Auditor's
                               Responsibilities for the Audit of the Financial Statements section of our report. We are required to
                               be independent of the Organization and to meet our other ethical responsibilities in accordance with
                               the relevant ethical requirements relating to our audit. We believe that the audit evidence we have
                               obtained is sufficient and appropriate to provide a basis for our audit opinion.

                               Management's Responsibility for the Financial Statements
                               Management is responsible for the preparation and fair presentation of these consolidated financial
                               statements in accordance with accounting principles generally accepted in the United States of
                               America; this includes the design, implementation, and maintenance of internal control relevant to
                               the preparation and fair presentation of financial statements that are free from material
                               misstatement, whether due to fraud or error.

                               In preparing the financial statements, management is required to evaluate whether there are
                               conditions or events, considered in the aggregate, that raise substantial doubt about the
                               Organization's ability to continue as a going concern within one year after the date that the financial
                               statements are available to be issued.

                               Auditor's Responsibility
                               Our objectives are to obtain reasonable assurance about whether the financial statements as a whole
      6114 Fayetteville Rd
                               are free from material misstatement, whether due to fraud or error, and to issue an auditor's report
                 Suite 101
                               that includes our opinion. Reasonable assurance is a high level of assurance but is not absolute
     Durham, NC 27713
                               assurance and therefore is not a guarantee that an audit conducted in accordance with generally
       Tel: 919.544.0555
                               accepted auditing standards will always detect a material misstatement when it exists. The risk of
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                                                                                                      Diverse Thinking I Unique Perspectives




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    not detecting a material misstatement resulting from fraud is higher than for one resulting from
    error, as fraud may involve collusion, forgery, intentional omissions, misrepresentations, or the
    override of internal control. Misstatements are considered material if there is a substantial
    likelihood that, individually or in the aggregate, they would influence the judgment made by a
    reasonable user based on the financial statements.

    In performing an audit in accordance with generally accepted auditing standards, we:
        •   Exercise professional judgment and maintain professional skepticism throughout the audit.
        •   Identify and assess the risks of material misstatement of the financial statements, whether
            due to fraud or error, and design and perform audit procedures responsive to those risks.
        •   Such procedures include examining, on a test basis, evidence regarding the amounts and
            disclosures in the financial statements.
        •   Obtain an understanding of internal control relevant to the audit in order to design audit
            procedures that are appropriate in the circumstances, but not for the purpose of expressing
            an opinion on the effectiveness of the Organization's internal control. Accordingly, no such
            opinion is expressed.
        •   Evaluate the appropriateness of accounting policies used and the reasonableness of
            significant accounting estimates made by management, as well as evaluate the overall
            presentation of the financial statements.
        •   Conclude whether, in our judgment, there are conditions or events, considered in the
            aggregate, that raise substantial doubt about the Organization's ability to continue as a
            going concern for a reasonable period of time.

    We are required to communicate with those charged with governance regarding, among other
    matters, the planned scope and timing of the audit, significant audit findings, and certain internal
    control related matters that we identified during the audit.



    Durham, North Carolina
    May 28, 2024




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                                                                                                25
                                        DEMOCRACY NORTH CAROLINA
                                     STATEMENTS OF FINANCIAL POSITION
                                           December 31, 2023 and 2022


                                                                        2023                2022
     Assets
      Current assets:
        Cash and cash equivalents (note 3)                          $   3,676,156     $      4,210,522
        Restricted cash and cash equivalents (note 15)                     28,295               26,854
        Accounts receivable                                                   109                   48
        Employee Retention Credit receivable (note 4)                     396,214                    -
        Grants receivable (note 5)                                      1,098,388              944,865
        Promises to give (note 6)                                          46,928               77,082
        Sales tax receivable                                                8,054               23,028
        Other assets                                                       58,346               39,647
             Total current assets                                       5,312,490            5,322,046
             Non-current assets:
              Property and equipment, net (note 7)                         48,045                  63,148
              Right-of-use assets - operating leases (note 16)            635,920                  71,456
              Beneficial interest in assets held
               by the Foundation of the Carolinas (note 8)                361,160              321,440
             Total non-current assets                                   1,045,125              456,044
     Total assets                                                   $   6,357,615     $      5,778,090
     Liabilities and net assets
      Current liabilities:
        Accounts payable                                            $      20,868     $            20,142
        Credit cards payable                                               15,804                  29,661
        Accrued vacation payable (note 10)                                 80,792                  58,645
        Accrued payroll and benefits payable                                    -                  66,540
        Lease liability - current (note 16)                               131,994                  62,826
        Security deposits                                                     129                     129
             Total current liabilities                                    249,587              237,943
             Non-current liabilities:
                     Lease liability (note 16)                            539,025                       -
                         non-current liabilities                          539,025                       -
             Total
                       liabilities                                        788,612              237,943
     Total
     Net assets:
             Without donor restrictions:
              Undesignated                                              2,433,270            3,040,440
              Board designated (note 11)                                1,500,000            1,000,000
             Total without donor restrictions                           3,933,270            4,040,440
             With donor restrictions (note 12)                          1,635,733            1,499,707
     Total net assets                                                   5,569,003            5,540,147
     Total liabilities and net assets                               $   6,357,615     $      5,778,090




                         The accompanying notes are an integral part of thefinancial statements.
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                                DEMOCRACY NORTH CAROLINA
                                 STATEMENT OF ACTIVITIES
                                  Year Ended December 31, 2023



                                                  Without Donor            With Donor
                                                   Restrictions            Restrictions            Total
Operating Activities:
 Support and revenue
  Contributions from grants                      $      1,898,049      $      1,098,388        S    2,996,437
  Contributions from individuals                          484,911                     -               484,911
  Research and honoraria income                             1,500                     -                 1,500
  Other income                                                750                     -                   750
  Net assets released
    from restrictions (note 13)                          962,362               (962,362)                    -
 Total support and revenue                             3,347,572                136,026             3,483,598
  Expenses
   Program services
     Communications                                      636,924                          -           636,924
     Organizing                                        1,360,123                          -         1,360,123
     Advocacy                                            435,977                          -           435,977
   Total program services                              2,433,024                          -         2,433,024
   Supporting services
     Management and general                               678,650                         -           678,650
     Fundraising                                          397,312                         -           397,312
   Total supporting services                            1,075,962                         -         1,075,962
  Total functional expenses                            3,508,986                          -         3,508,986
Change in net assets
 from operating activities                              (161,414)               136.026               (25,388)
Non-operating Activities:
    Gain on disposal of property and equipment              1,200                         -             1,200
    Loss on uncollectible promises to give                 (1,000)                        -            (1,000)
    Change in beneficial interest in assets
     held by the Foundation of the Carolinas               39,720                         -           39,720
    Net investment income                                  14,324                         -           14,324
Change in net assets
 from non-operating activities                             54,244                         -           54,244
Change in net assets                                    (107,170)               136,026               28,856
Net assets, beginning of year                          4,040,440              1,499,707             5,540,147
Net assets, end of year                          $     3,933,270       $      1,635,733        $    5,569,003




                The accompanying notes are an integral part of thefinancial statements.
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                                DEMOCRACY NORTH CAROLINA
                                 STATEMENT OF ACTIVITIES
                                  Year Ended December 31, 2022


                                                  Without Donor           With Donor
                                                   Restrictions           Restrictions             Total
Operating Activities:
 Support and revenue
  Contributions from grants                      $      3,127,351     $        801,000        $    3,928,351
  Contributions from individuals                          625,391                2,000               627,391
  Net assets released
    from restrictions (note 13)                           981,488             (981,488)                     -
  Total support and revenue                             4,734,230             (178,488)            4,555,742
  Expenses
   Program services
     Communications                                     1,492,479                        -         1,492,479
     Organizing                                         1,499,510                        -         1,499,510
     Advocacy                                             442,824                        -           442,824
   Total program services                               3,434,813                        -         3,434,813
   Supporting services
     Management and general                               625,075                        -           625,075
     Fundraising                                          264,340                        -           264,340
   Total supporting services                              889,415                        -           889,415
  Total functional expenses                             4,324,228                        -         4,324,228
Change in net assets
 from operating activities                                410,002             (178,488)              231,514
Non-operating Activities:
    Loss on disposal of property and equipment               (211)                       -               (211)
    Loss on uncollectible promises to give                 (5,000)                       -             (5,000)
    Change in beneficial interest in assets
     held by the Foundation of the Carolinas              (56,292)                       -           (56,292)
    Net investment income                                   5,151                        -             5,151
Change in net assets
 from non-operating activities                            (56,352)                       -           (56,352)
Change in net assets                                      353,650             (178,488)              175,162
Net assets, beginning of year                           3,686,790            1,678,195             5,364,985
Net assets, end of year                          $      4,040,440     $      1,499,707        $    5,540,147




                The accompanying notes are an integral part of thefinancial statements.
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                                                       DEMOCRACY NORTH CAROLINA
                                                   STATEMENT OF FUNCTIONAL EXPENSES
                                                         Year Ended December 31, 2023


                                                           Program Services                                Supporting Services
                                                                                                       Management
                                       Communications            Organizing           Advocacy         and General     Fundraising          Total
Salaries                               $       311,128       $       656,132      $       289,794     $     333,956       $   215,968   $   1,806,978
Employee benefits                               41,927                91,609               35,753            54,089            32,634         256,012
Payroll taxes                                   23,756                50,218               22,193            28,574            16,715         141,456
Professional development                         4,010                21,307                3,346            18,992             7,414          55,069
Consultants/Contractors                         70,587                42,950               20,000            89,780            11,186         234,503
Meals and catering                                 569                 6,936                   80               414               576           8,575
Meetings and events                                321                 3,812                   45                 -            10,101          14,279
Outreach grant and coalitions                        -               267,800                    -                 -             1,448         269,248
Communications                                  55,375                 1,483                1,033             1,284             2,900          62,075
Facilities                                      17,153                54,769               17,145            63,116            12,341         164,524
Technology                                      26,890                27,273               12,995            12,267            16,899          96,324
Supplies                                         2,099                11,767                  545             5,351             3,395          23,157
Printing, publications, social media            52,644                20,369                  200               880            34,952         109,045
Postage and shipping                             5,220                 3,387                    7             4,124             1,608          14,346
Travel expenses                                  8,348                66,110                8,543             9,670             9,357         102,028
Professional services                           13,757                27,720               21,516            29,277            11,857         104,127
Insurance                                        1,046                 1,993                  954             2,310               730           7,033
Banking and processing fees                      1,118                 2,862                1,001             3,984             6,123          15,088
Dues and subscriptions                             427                 1,317                  753             2,412               935           5,844
Depreciation expense                                 -                     -                    -            16,182                 -          16,182
Miscellaneous expenses                             549                   309                   74             1,988               173           3,093
  Total functional expenses            $       636,924       $     1,360,123      $       435,977     $     678,650       $   397,312   $   3,508,986




                                           The accompanying notes are an integral part of thefinancial statements.
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                                                       DEMOCRACY NORTH CAROLINA
                                                   STATEMENT OF FUNCTIONAL EXPENSES
                                                         Year Ended December 31, 2022


                                                           Program Services                                Supporting Services
                                                                                                       Management
                                       Communications            Organizing            Advocacy        and General     Fundraising       Total
Salaries                               $       305,094       $       683,404       $      209,640     $     336,428    $   108,740   $   1,643,306
Employee benefits                               28,625                56,056               25,944            71,939         13,369         195,933
Payroll taxes                                   24,392                53,709               17,234            27,328          8,928         131,591
Professional development                         2,857                 7,665                5,171            15,402          3,637          34,732
Consultants/Contractors                        124,886                91,455               74,382            47,392         35,030         373,145
Meals and catering                                 540                10,264                  764                 -              -          11,568
Meetings and events                              2,497                 3,198                   14                 -              -           5,709
Outreach grant and coalitions                        -               403,300               19,000                 -              -         422,300
Communications                                 187,994                     -                   70             1,512              -         189,576
Facilities                                      27,938                72,640               23,386            21,632         19,168         164,764
Technology                                      23,329                24,499               12,628            10,260         21,538          92,254
Supplies                                         1,773                 6,648                1,913             5,449          1,668          17,451
Printing, publications, social media           320,056                35,232               42,615               190         20,932         419,025
Postage and shipping                           436,687                17,412                  531             1,410         15,463         471,503
Travel expenses                                  2,833                25,195                1,471             7,877          3,020          40,396
Professional services                              736                 2,618                6,071            58,765          4,289          72,479
Insurance                                          583                   844                  488             1,620            646           4,181
Banking and processing fees                        911                 2,746                  758             6,006          7,600          18,021
Dues and subscriptions                             214                   109                  500             1,010            130           1,963
Depreciation expense                                 -                     -                    -             9,758              -           9,758
Miscellaneous expenses                             534                 2,516                  244             1,097            182           4,573
  Total functional expenses            $     1,492,479       $     1,499,510       $      442,824     $     625,075    $   264,340   $   4,324,228




                                           The accompanying notes are an integral part of thefinancial statements.
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                            DEMOCRACY NORTH CAROLINA
                            STATEMENTS OF CASH FLOWS
                           Years Ended December 31, 2023 and 2022


                                                                          2023               2022
Cash flows from operating activities
 Change in net assets                                                 $      28,856      $    175,162
 Adjustments to reconcile change in net assets to
 net cash provided (used) by operating activities:
   Depreciation expense                                                      16,182              9,758
   Loss on uncollectible promises to give                                     1,000              5,000
   Donated securities                                                        (7,782)           (35,034)
   Proceeds from sale of donated securities                                  41,158             32,924
   Loss(gain) on disposal of property and equipment                          (1,200)               211
   Change in beneficial interest in assets
       held by the Foundation for the Carolinas                             (39,720)           56,292
   Realized and unrealized (gain) loss on investments                       (33,376)            2,110
   (Increases) decreases in operating assets:
     Accounts receivable                                                        (61)              (48)
     Employee Retention Credit receivable                                  (396,214)                -
     Grants receivable                                                     (153,523)          140,149
     Promises to give                                                        29,154            50,899
     Sales tax receivable                                                    14,974           (18,816)
     Prepaid expenses                                                       (18,699)           (5,627)
   Increases (decreases) in operating liabilities:
     Accounts payable                                                           726           (14,124)
     Accrued expenses                                                         8,290            16,680
     Payroll liabilities                                                    (66,540)           (3,489)
     Operating lease assets and liabilities                                  43,729            (2,231)
Net cash (used) provided by operating activities                           (533,046)          409,816
Cash flows from investing activities
 Purchase of property and equipment                                          (1,079)           (58,190)
 Proceeds from the disposal of property and equipment                         1,200                  -
Net cash provided (used) by investing activities                                121            (58,190)
Net increase in cash and cash equivalents and restricted cash              (532,925)          351,626
Cash and cash equivalents and restricted cash, beginning of year          4,237,376          3,885,750
Cash and cash equivalents and restricted cash, end of year            $ 3,704,451        $ 4,237,376
Composition of cash and cash equivalents
  Cash and cash equivalents                                           $ 3,676,156        $ 4,210,522
  Restricted cash and cash equivalents                                     28,295             26,854
                                                                      $ 3,704,451        $ 4,237,376




               The accompanying notes are an integral part of thefinancial statements.
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                           DEMOCRACY NORTH CAROLINA
                        NOTES TO THE FINANCIAL STATEMENTS
                          Years Ended December 31, 2023 and 2022

NOTE 1— ORGANIZATION
  Democracy North Carolina (the "Organization") is a 501(c)(3) not-for-profit corporation organized
  under the laws of the state of North Carolina. The Organization is organized for charitable and
  educational purposes to promote public discussion about the vitality of democracy in North
  Carolina; increase voter education; increase voter registration and civic participation within the
  state; examine the influence of private money on public policy and elections; and evaluate the
  relative importance of various governmental reforms, including public financing of elections.

  The Organization's programs involves a variety of distinct but integrated activities, including:

  Organizing - statewide and in local communities from the halls of the legislature to city halls and
  local boards of elections — to bring together diverse groups of people to focus on shared advocacy
  and civic engagement goals.

  Communications — developing and delivering external resources, including traditional media,
  public relations, and digital communications, to build public awareness of and favorability toward
  the Organization's external goals and increase the Organization's exposure to targeted audiences,
  including the public, media, and other intermediaries.

  Advocacy - through local and statewide networks of informed citizens who are willing to pursue
  and defend meaningful pro-democracy policies and take a more active role in government. Frequent
  training for citizens, including Democracy Summer, a paid internship for outstanding college
  students.


NOTE 2— SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES
  Basis of accounting - The financial statements of the Organization have been prepared on the
  accrual basis of accounting. The significant accounting policies are described below to enhance the
  usefulness of the financial statements to the reader.

  Basis of presentation — The Organization's financial statements are prepared in accordance with
  accounting principles generally accepted in the United States of America ("U.S. GAAP").
  Accordingly, revenues, expenses, gains, and losses are classified based on the existence or absence
  of donor-imposed restrictions. As a result, the net assets of the Organization and changes therein
  are classified and reported as either with or without donor restrictions.

     Net assets without donor restrictions — Net assets without donor restrictions include resources
     which are available for use in carrying out the supporting activities of the Organization and are
     not subject to donor-imposed stipulations.




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                           DEMOCRACY NORTH CAROLINA
                        NOTES TO THE FINANCIAL STATEMENTS
                          Years Ended December 31, 2023 and 2022

NOTE 2— SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
     Net assets with donor restrictions — Net assets with donor restrictions include resources that
     have been donated to the Organization and that are subject to restrictions as defined by the
     donor. These restrictions are met either by the actions of the Organization and/or the passage
     of time. When a restriction expires as a result of the action of the Organization and/or passage
     of time, net assets with donor restrictions are reclassified to net assets without donor restrictions
     and reported in the statement of activities as net assets released from restrictions. The
     Organization had net assets with donor restrictions of $1,635,733 and $1,499,707, as of
     December 31, 2023 and 2022, respectively.

  Revenue recognition - The Organization follows ASC Topic 958-605, Revenue Recognition. In
  accordance with ASC 958-605, unconditional contributions are recognized when pledged and
  recorded as net assets without donor restrictions or net assets with donor restrictions, depending on
  the existence and/or nature of any donor-imposed restrictions. Gifts of cash and other assets are
  reported with donor restricted support if they are designated for future periods or restricted by the
  donor for a specific purpose.

  Conditional promises to give, which are defined as those promises to give that contain a measurable
  performance or other barrier and a right of return, are not recognized until the conditions on which
  they depend have been met. If a condition related to a donor restricted contribution is fulfilled in
  the same period in which the contribution is received, the Organization reports the support as
  unrestricted. As of December 31, 2023 and 2022, the Organization had no grants and promises to
  give that have not been recognized in the accompanying statements of activities because the
  conditions on which they depend have not yet been met.

  When a restriction expires, that is, when a stipulated time restriction ends or a purpose restriction
  is accomplished, net assets with donor restrictions are reclassified to net assets without donor
  restrictions and reported in the statement of activities as net assets released from restrictions.
  Donor-restricted contributions whose restrictions are met in the same reporting period are reported
  as net assets without donor restricted support. In the event that monies both with and without donor
  restrictions are available for use for activities that comply with donor restrictions, the Organization
  will use funds having donor restrictions first.

  Donations of property and equipment are recorded as support at their estimated fair value at the
  date of donation. Contributions restricted for the acquisition of land, buildings, and equipment are
  reported as net assets without donor restrictions upon acquisition of the assets and the assets are
  placed in service.

  Contributed Services — A substantial number of unpaid volunteers have made significant
  contributions of their time to develop the Organization's programs. The value of this contributed
  time is not reflected in the financial statements as it is not susceptible to objective measurement or
  valuation.

  Liquidity — Assets are presented in the accompanying statement of financial position according to
  their nearness of conversion to cash and liabilities according to the nearness of their maturity and
  resulting use of cash.


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                           DEMOCRACY NORTH CAROLINA
                        NOTES TO THE FINANCIAL STATEMENTS
                          Years Ended December 31, 2023 and 2022

NOTE 2— SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
  Advertising — The Organization uses advertising to promote its programs among the audiences it
  serves. Advertising costs are expensed as incurred. Advertising expense for the years ended
  December 31, 2023 and 2022 was $62,075 and $189,576, respectively.

  Use of estimates - The preparation of financial statements in conformity with generally accepted
  accounting principles requires management to make estimates and assumptions that affect certain
  reported amounts and disclosures. Accordingly, actual results could differ from those estimates.

  Property and equipment — Property and equipment is carried at cost and adjusted for impairments
  of value. The Organization capitalizes all expenditures greater than $1,000 for property and
  equipment at cost, and donated assets are recorded at fair market value at the date of the donation.
  Depreciation is computed on a straight-line basis over the estimated useful lives of the assets, which
  has been estimated at three to ten years.

  Expenditures for repairs and maintenance are charged to expense as incurred. The costs of major
  renewals and betterments are capitalized and depreciated over their estimated useful lives. Upon
  disposition, the cost and related accumulated depreciation accounts are relieved of the amount for
  each asset, and any related gain or loss is included in operations.

  Income taxes - The Organization is exempt from federal income taxes under Sections 501(c)(3) of
  the Internal Revenue Code. The State of North Carolina has granted a similar exemption. Therefore,
  no income taxes are reflected in these financial statements.

  Uncertain tax positions — Income from certain activities not directly related to the Organization's
  tax-exempt purposes may be subject to taxation as unrelated business income. Management has
  evaluated all other tax positions that could have a significant effect on the financial statements and
  determined that the Organization had no uncertain income tax positions at December 31, 2023 and
  2022. The Organization is not classified as a private foundation.

  Concentrations of revenue sources - The Organization is funded primarily through grants. Any
  significant decrease in its level of grant revenue could pose a risk to the Organization's financial
  position.
  Expense allocation — Expenses are summarized on a functional basis in the statements of activities
  and statements of functional expenses. Accordingly, certain costs have been allocated among the
  programs and supporting services benefited.

  Directly identifiable expenses are charged to programs and supporting services. Expenses related
  to more than one function are charged to functional and supporting services based on their relative
  use by each function. A formula for percentage of usage is based on the number of staff members
  in each functional area. Management and general expenses include those expenses that are not
  directly identifiable with any other specific function but provide for the overall support and
  direction of the Organization.




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NOTE 2— SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
  Investments - Investments in marketable securities with readily determinable fair values and all
  investments are reported at their fair values in the statements of financial position. Unrealized gains
  and losses are included in the change in net assets. Investment income and gains restricted by a
  donor are reported as increases in unrestricted net assets if the restrictions are met (either by passage
  of time or by use) in the reporting period in which the income and gains are recognized.

  Concentrations of credit risk - The Organization maintains cash in several commercial banks
  located in North Carolina. Balances on deposits are insured by the Federal Deposit Insurance
  Corporation (FDIC) up to $250,000 per financial institution. Balances exceeding FDIC limits are
  uninsured. As of December 31, 2023 and 2022, the Organization had deposits of $598,979 and
  $542,798, respectively, exceeding insured limits. As of December 31, 2023 and 2022, the
  Organization held $2,501,934 and $3,280,165, respectively of fully insured funds in the Insured
  Cash Sweep network.

  Grants and promises to give — Grants and promises to give that are expected to be collected within
  one year are recorded at net realizable value. Grants and promises to give that are expected to be
  collected in future years are recorded at the present value of their estimated future cash flows. The
  Organization provides an allowance for doubtful accounts equal to the estimated losses that are
  expected to be incurred in collection. The allowance is based on historical collection experience
  and a review by management of the current status of existing receivables. As of December 31, 2023
  and 2022, management estimated an allowance for uncollectible promises to give of $5,000.

  Measure of operations — The statements of activities report all changes in net assets, including
  changes in net assets from operating and non-operating activities. Operating activities consist of
  those items attributable to the Organization's ongoing activities. Non-operating activities are
  limited to resources that generate return from investments, beneficial interest, financing costs and
  other activities considered to be of a more unusual or non-recurring nature.

  Leases — In 2022, the Organization adopted Accounting Standards Update (ASU) No. 2016-02,
  Leases, which requires lessees to recognize leases on the statements of financial position and
  disclose key information about leasing arrangements. The Organization elected not to reassess at
  adoption (i) expired or existing contracts to determine whether they are or contain a lease, (ii) the
  lease classification of any existing leases, or (iii) initial direct costs for existing leases. As a result
  of implementing ASU No. 2016-02, The Organization recognized right-of-use assets related to
  operating leases of $193,645 and lease liabilities totaling $187,246 in its statement of financial
  position as of January 1, 2022. Additionally, as of January 1, 2022, deferred rent of $4,316 and
  prepaid rents of $10,715 were reclassified as part of the implementation. The adoption did not result
  in a significant effect on amounts reported in the statement of activities for the year ended
  December 31, 2022.




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NOTE 2—     SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
  The Organization determines if an arrangement is or contains a lease at inception. Leases are
  included in right-of-use (ROU) assets and lease liabilities in the statements of financial position.
  ROU assets and lease liabilities reflect the present value of the future minimum lease payments
  over the lease term, and ROU assets also include prepaid or accrued rent. Operating lease expense
  is recognized on a straight-line basis over the lease term and is reported as facilities expense within
  the statements of functional expenses. The Organization does not report ROU assets and leases
  liabilities for its short-term leases (leases with a term of 12 months or less). Instead, the lease
  payments of those leases are reported as facilities expense on a straight-line basis over the lease
  term in the statements of functional expenses.


NOTE 3—    CASH AND CASH EQUIVALENTS
  For the purposes of reporting cash flows, cash and cash equivalents include cash on hand, money
  market accounts, highly liquid investments with original maturities of three months or less and
  amounts on deposit with banks. Due to the short nature of cash equivalents, the amount
  approximates fair value.

  The Organization had the following cash and cash equivalents balances available for operations as
  of December 31:

                                                             2023               2022
            Non-interest bearing checking accounts      $      557,756      $     435,890
            Interest bearing checking accounts               3,146,695          3,801,486
            Total                                       $    3,704,451      $ 4,237,376



NOTE 4—    EMPLOYEE RETENTION CREDIT RECEIVABLE
  Under the provisions of the Coronavirus Aid, Relief, and Economic Security Act (the "CARES
  Act") signed into law on March 27, 2020, the subsequent extension of the CARES Act, American
  Rescue Plan Act of 2021, and the Infrastructure Investment and Jobs Act, the Organization was
  eligible for a refundable employee retention credit ("ERC") subject to certain criteria. The ERC is
  a refundable payroll tax credit that offsets certain employer FICA taxes. The Employee Retention
  Credit receivable at December 30, 2023 is $396,214, which represents refunds due of $182,417 on
  the Form 941-X Adjusted Employer's Quarterly Federal Tax Return or Claim for Refund for the
  quarters ended June 30, 2020 and September 30, 2020, and $213,797 on the Form 941-X Adjusted
  Employer's Quarterly Federal Tax Return or Claim for Refund for the quarter ended September 30,
  2021.

NOTE 5—    GRANTS RECEIVABLE
  The Organization's grants are characterized as contribution revenue and are reported at fair value
  at the date of donation. Management evaluates the collectability of its grants receivable and records
  an allowance, as necessary.


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NOTE 5— GRANTS RECEIVABLE (CONTINUED)
  At December 31, 2023 and 2022, the amount to be received in subsequent years is summarized as
  follows:

                                                    2023                  2022
                Less than one year               $ 550,000         $       450,000
                One to three years                   600,000               500,000
                                                   1,150,000               950,000
                Less: Present value discount         (51,612)                (5,135)
                Net grants receivable            $ 1,098,388       $       944,865


  Grants receivable with due dates extending beyond one year are discounted using Treasury bill
  rates for similar term investments. The discount applied to grants receivable outstanding ranges
  from 0.95% to 4.60% as of December 31, 2023 and 2022. Amortization of the discount is reported
  in the statement of activities as an offset to contribution revenue.

  Grants receivables consist of the following:

                                                 2023              2022
                          Entity 1         $     900,000    $       700,000
                          Entity 2                     -             50,000
                          Entity 3               100,000            200,000
                          Entity 4                50,000                  -
                          Entity 5               100,000                  -
                       Less: Discount            (51,612)            (5,135)
                                           $ 1,098,388      $       944,865



NOTE 6— PROMISES TO GIVE
  Promises to give represent unconditional promises to give and are recognized as support when the
  donor makes the pledge. Promises to give are recorded at net realizable value. Management
  evaluates payment history and market conditions to estimate allowances for doubtful promises to
  give. As of December 31, 2023 and 2022, management estimated an allowance for uncollectible
  promises to give of $5,000.




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NOTE 6— PROMISES TO GIVE
  Payments on promises to give at December 31, 2023 and 2022 are expected to be received in the
  following years:

                                                               2023               2022
    Promises to give in less than one year                 $      51,928      $    29,750
    Promises to give in one to three years                             -           52,500
    Less: discount to present value                                    -             (168)
    Less: allowance for uncollectible promises to give            (5,000)          (5,000)
                          Total                            $      46,928      $    77,082

  Promises to give with due dates extending beyond one year are discounted using Treasury bill rates
  for similar term investments as of the date of the initial pledge. The discount rates applied to
  promises to give outstanding as of December 31, 2022 ranged from 0.07% to 0.54%. There was no
  discount on promises to give as of December 31, 2023. Amortization of the discount is reported in
  the statements of activities as an offset to contribution revenue.


NOTE 7— PROPERTY AND EQUIPMENT, NET
  Property and equipment consist of the following at December 31:

                                                     2023                   2022
             Equipment                           $     89,467         $       94,997
             Vehicles                                                         10,971
                                                         89,467              105,968
             Less accumulated depreciation               (41,422)            (42,820)
             Property and equipment, net         $        48,045      $       63,148

  The Organization recognized depreciation expenses of $16,182 and $9,758 for the years ended
  December 31, 2023 and 2022, respectively.


NOTE 8— BENEFICIAL INTEREST IN ASSETS HELD BY THE FOUNDATION FOR THE
        CAROLINAS
  During 2015, the Organization established two quasi-endowed funds with unrestricted funds with
  the Foundation for the Carolinas ("Foundation") and named itself as the beneficiary. The Board of
  Directors set aside these funds to create a cash reserve fund. The Organization granted variance
  power to the Foundation, which allows the Foundation to modify any condition or restriction on its
  distributions for any specified charitable purpose or to any specified beneficiary, if, in the sole
  judgment of the Foundation's Board of Directors, such restriction becomes, in effect, unnecessary,
  incapable of fulfillment, or inconsistent with the charitable needs of the area served by the



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NOTE 8— BENEFICIAL INTEREST IN ASSETS HELD BY THE FOUNDATION FOR THE
        CAROLINAS (CONTINUED)

  Foundation. The money is invested in a quasi-endowed agency fund and, therefore, the value
  fluctuates with changes in the value of the respective funds. The balance is presented as board
  designated net assets without donor restrictions in the statements of financial position. The change
  in the value of the beneficial interest is separately reported in the statement of activities.

  The following table provides a summary of changes in fair value for the years ended December 31:

                                                             2023            2022
                 Benefical interest, beginning           $   321,440    $     377,732
                 Change in value of trust                     39,720          (56,292)
                 Beneficial interest, end of year        $   361,160    $     321,440



NOTE 9— FAIR VALUE MEASUREMENTS
  U.S. GAAP defines fair value as the exchange price that would be received for an asset or paid to
  transfer a liability in the principal or most advantageous market for the asset or liability in an orderly
  transaction between market participants on the measurement date.

  The framework establishes a hierarchy for inputs used in measuring fair value that maximizes the
  use of observable inputs and minimizes the use of unobservable inputs by requiring that the most
  observable inputs be used when available.

  The defined levels within the hierarchy based on the reliability of inputs as follows:

      Level I - Valuations based on unadjusted quoted prices for identical assets or liabilities in active
      markets;

      Level 2 - Valuations based on quoted prices for similar assets or liabilities or identical assets or
      liabilities in less active markets, such as dealer or broker markets; and

      Level 3 - Valuations derived from valuation techniques in which one or more significant inputs
      or significant value drivers are unobservable, such as pricing models, discounted cash flow
      models and similar techniques not based on market, exchange, dealer, or broker-traded
      transactions.




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NOTE 9— FAIR VALUE MEASUREMENTS (CONTINUED)
    The Organization's financial instruments carried at fair value on a recurring basis by the fair value
    hierarchy levels are shown below:

                                                                          December 31. 2023
                                         Quoted Prices in
                                        Active Markets for
                                      identical assets Level
                                                (1)                 Level (2)            Level (3)            Total
Beneficial interest in assets held
 by the Foundation of the Carolinas                                                 $          361,160    S       361,160

                                                                          December 31. 2022
                                         Quoted Prices in
                                        Active Markets for
                                      identical assets Level
                                                                    Level (2)            Level (3)            Total
Beneficial interest in assets held
 by the Foundation of the Carolinas                                                 $          321,440    $       321,440


    The Organization uses appropriate valuation techniques based on the available inputs. When
    available, the Organization measures fair value using Level 1 inputs as they generally provide the
    most reliable evidence of fair value. Level 2 and Level 3 inputs are only used when Level 1 inputs
    are not available. The market approach was used for all assets classified as Level I and Level 2.
    The fair value of the beneficial interest in assets held by the Foundation for the Carolinas, classified
    as Level 3, is measured based on the fair values of the underlying assets, which consist primarily
    of fixed income, equity securities, alternative investments, and cash for which the Organization
    relies on fair value measurement calculations performed and provided by the Foundation for the
    Carolinas. Inputs include the credit risk of the issuer, maturity, current yield, and other terms and
    conditions of each instrument.

    There were no changes to valuation techniques during the years ended December 31, 2023 and
    2022.


NOTE 10 — ACCRUED VACATION PAYABLE
    For the years ended December 31, 2023 and 2022, the Organization had a paid-time-off (PTO)
    policy in which employees are permitted to carry over 15 days of accrued leave into the subsequent
    year. Accrued PTO was $80,792 and $58,645 as of December 31, 2023 and 2022, respectively.


NOTE 11- BOARD DESIGNATED NET ASSETS
    As of December 31, 2023 and 2022, the Board of Directors designated $1,500,000 and $1,000,000,
    respectively, of net assets without donor restrictions to support the mission of the Organization.
    Since that amount is from an internal designation and is not subject donor restrictions, it is classified
    and reported as net assets without donor restrictions.


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NOTE 12 - NET ASSETS WITH DONOR RESTRICTIONS
   Donor-restricted assets include gifts of cash and other assets for which donor-imposed purpose or
   time restrictions have not yet been met, and for which the ultimate purpose of the proceeds is not
   permanently restricted. As of December 31, 2023 and 2022, donor-restricted assets consisted of the
   following:
                                                        2023                 2022
              Subject to purpose restrictions
                 Carolina Youth Partnership         $        848,388        $      300,000
                 Leadership Center                                 -                   785
                 Election Protection                               -                75,000
                 Regranting                                   88,000                     -
                 Capacity Building                             1,975                 1,975
              Subject to passage of time
                 2023 program activities                           -               579,750
                 2024 program activities                     697,370               542,197
                                                    $       1,635,733       $    1,499,707



NOTE 13 — NET ASSETS RELEASED FROM RESTRICTIONS
The following are releases from donor restricted net assets for the years ended December 31, 2023 and
2022:

                                                            2023                2022
                 Subject to purpose restrictions
                    Leadership Center                   $       785     $           215
                    Regranting                               12,000                   -
                    Election Protection                      75,000              75,000
                    Carolina Youth Partnership              300,000             250,000
                    Capacity Building                             -               8,225
                 Subject to passage of time
                    Entity 1                                396,236             388,778
                    Entity 2                                 98,629             101,371
                    Entity 3                                      -              50,000
                    Entity 4                                      -              50,000
                    Entity 5                                 50,000                   -
                    Promises to give                         29,712              57,899
                                                        $   962,362     $       981,488




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NOTE 14 — RETIREMENT PLAN
  The Organization offers its employees a pretax IRC Section 403(b) Plan ("403(b) Plan"). Full-time
  employees are eligible to participate upon their start date and part-time employees are eligible to
  participate if they have been employed for one year and have worked at least 1,000 hours for the
  Organization. The Organization matches all employee 403(b) contributions up to a maximum of
  5% of the employee's contributions. Additionally, the Organization offers a nonelective employer
  contribution in an amount equal to 2% of the employee's compensation for all eligible employees
  after a 90-day probationary period. Staff members who were employed by the Organization prior
  to January 1, 2022, the date of the most recent plan revision, were grandfathered into this program
  and received their first nonelective contribution in August 2022. Participants in the 403(b) Plan are
  immediately vested in all employee and employer contributions.

  For the years ended December 31, 2023 and 2022, retirement plan contributions made by the
  Organization totaled $64,480 and $38,276, respectively.

NOTE 15 — RESTRICTED CASH - HEALTH REIMBURSEMENT ACCOUNT
  The Organization provides a health reimbursement account for employees that covers co-pays and
  deductibles. The insurance company that provides the Organization's health insurance mandates a
  minimum balance of $25,000 in the bank account that issues the reimbursements. The account is
  monitored by management to ensure compliance. As of December 31, 2023 and 2022, the
  Organization held restricted cash for the health reimbursement account of $28,295 and $26,854,
  respectively, and was in full compliance.


NOTE 16 — LEASES
  The Organization evaluates current contracts to determine they meet the criteria of a lease. The
  right-of-use (ROU) assets represent the Organization's right to use underlying assets for the lease
  term, and the lease liabilities represent the Organization's obligation to make lease payments arising
  from these leases. The ROU assets and lease liabilities are calculated based on the present value of
  future lease payments over the lease term. ROU assets also include adjustments related to lease
  payments made and lease incentives received at or before the commencement date. The
  Organization has made an accounting policy election to use a risk-free rate in lieu of its incremental
  borrowing rate to discount future lease payments.

  On February 6, 2020, the Organization entered into an operating lease for its primary office space.
  The lease agreement was payable in monthly installments that began at $10,298 for the first year
  and escalated according to a fixed schedule annually until the lease ended, on June 30, 2023. The
  forty-two month lease term excluded a two-year extension, available at the Organization's option,
  which was not reasonably certain to exercise as the overall terms of the lease agreement were to be
  renegotiated. Therefore, the payments associated with the extension were not included in the ROU
  asset nor the lease liability recognized as of December 31, 2022.




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NOTE 16 — LEASES (CONTINUED)
  In March 2023, the Organization entered into an amendment of its operating lease for its primary
  office space. The amendment extended the lease term by sixty-eight months, beginning on
  July 1, 2023, and does not provide for any extension options. Additionally, the amendment sets
  forth a new monthly installment payment of $11,496, which escalates by 3% every July 1St until
  the lease termination date of February 29, 2029. Furthermore, the Organization received a four-
  month abatement from July through October of 2023.

  Additionally, the Organization leases space for its regional offices under short-term leases for
  which the Organization does not report ROU assets and leases liabilities. The lease agreements
  require monthly lease payments between $154 and $926.

                                                                    2023                2022
  Lease expense:
     Operating lease expense included in facilities expense     $     137,452       S   126,568
     Short-term lease expense included in facilities expense    $      22,506       S    31,151

  Other information:
     Cash paid for amounts included in the measurement
          of lease liabilities
              Operating cash flows from operating leases        $         89,142    S   128,798
     Right-of-use assets obtained in exchange for new
          operating lease liabilities                           $    693,574        S          -

  Supplemental Statement of Net Position information related to leases:

                                                                    2023                2022

         Right-of-use assets - operating leases                 $    635,920        $    71,456
         Lease liabilities - operating                          $    671,019        $    62,826

         Weighted-average remaining lease term in months                       62             6
         Weighted-average discount rate                                    4.19%          1.34%




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NOTE 16 — LEASES (CONTINUED)
                            Maturity Analysis
                              2024                            $    137,861
                              2025                                 142,057
                              2026                                 148,528
                              2027                                 152,983
                              2028                                 157,581
                              2029                                  26,652
                            Total undiscounted cash flows          765,662
                            Less present value discount            (94,643)
                                      Total lease obligations $    671,019



NOTE 17 — LIQUIDITY
The Organization's financial assets available within one year of the statements of financial position
date for general expenditure are as follows:

                                                         2023                 2022
                Cash and cash equivalents         $      3,704,451     $      4,237,376
                Accounts receivable                            109                   48
                Employee Retention Credit receiva          396,214                    -
                Grants receivable                        1,098,388              944,865
                Promises to give                            46,928               77,082
                Sales tax receivable                         8,054               23,028
                Prepaid expenses                            58,346               39,647
                Less:
                  Restricted cash                          (28,295)              (26,854)
                  With Donor restrictions               (1,635,733)           (1,499,707)
                  Restrictions expected to be
                   met before 12/31                      1,087,345              957,510
                                                  $      4,735,807     $      4,752,995

   The Organization's financial assets have been reduced by amounts not available for general use
   because of donor imposed or other restrictions within one year of the statement of financial position
   date. As part of the Organization's liquidity management, it has a policy to structure its financial
   assets to be available as general expenditures, liabilities, and other obligations come due.




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NOTE 17 — LIQUIDITY
  The Board of Directors of the Organization adopted a formal operating reserve policy in 2017, the
  purpose of which is to build and maintain an adequate level of net assets without donor restrictions
  to support the Organization's day-to-day operations in the event of unforeseen shortfalls. The
  objective is to fund the operating reserve from surplus unrestricted operating funds to be equal to
  five months of cash operating expenses. The Organization does not intend to spend from operating
  reserves, though if additional liquidity is needed, these amounts could be made available, if
  necessary.


NOTE 18 — RELATED PARTIES
  The Organization received contributions and/or cash receipts fulfilling outstanding promises to give
  from members of the Board of Directors totaling $55,199 and $77,015 for the years ending
  December 31, 2023 and 2022, respectively. As of December 31, 2023 and 2022, outstanding
  promises to give from Board members were $49,428 and 75,000, respectively.

  The Organization obtains certain communications services from a company owned by the spouse
  of
  the Co-Executive Director. During the years ended December 31, 2023 and 2022, expenses
  incurred with the company were $1,169 and $0, respectively. There were no amounts payable as
  of December 31, 2023 and 2022.

  The Co-Executive Director serves as treasurer on the Board of Directors of Nonprofit VOTE, a
  registered 501(c)(3) that equips other nonprofits across the United States with nonpartisan tools,
  resources, and grants to help the communities they serve participate in voting and democracy. The
  Nonprofit VOTE Board of Directors does not make decisions on which organizations will receive
  these grants. In fiscal year 2023, Nonprofit Vote granted the Organization $35,000 to implement a
  2023 voter engagement initiative.


NOTE 19 —SUBSEQUENT EVENTS
  We have evaluated subsequent events through May 28, 2024, the date the financial statements were
  available to be issued.




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